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                          Exhibit A
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 July 16, 2020

 Peter A. Schey
 President
 Center for Human Rights and Constitutional Law
 256 S. Occidental Blvd.
 Los Angeles, California 90057

        RE: Coercive Binary “Choice” and Sanctioned Family Separation

 Mr. Schey:

         The three family detention legal service providers (LSP)—ALDEA, Proyecto Dilley, and
 RAICES—continue to object to the development of a purported waiver of Flores release rights,
 especially in the midst of a pandemic. The three LSP teams are in active communication with
 Independent Monitor Ordin and Dr. Wise regarding the implementation of the Flores Settlement
 Agreement. The three LSP teams cannot provide input in furtherance of a waiver process directly
 at odds with the stated interests, health, and well-being of our clients, including our accompanied
 Class Member clients.

         Judge Gee issued an order “addressing how [she] wants ICE to comply with the release
 provisions of the Flores Settlement” on June 26, 2020. The Court’s order was clear; ICE is to
 release children “with all deliberate speed.” (emphasis in original). Specifically, ICE must
 release Class Members detained 20 days or more by Friday, July 17, 2020. In the March, April,
 and May 2020 Orders of the Court, Judge Gee similarly ordered ICE to make prompt and
 continuous efforts to release class members. Any ongoing delays fail to comply with this
 straightforward order.

         As of today, July 16, 2020, ICE continues to detain at least 97 children at the family
 detention centers for longer than 20 days, not including additional time in CBP custody. Nothing
 precludes ICE from compliance with the Court’s order through release of Class Members with
 their parents in the absence of a finalized waiver protocol. Indeed, as Judge Gee specifically noted
 in her June 26 Order, it is well within ICE’s discretion to release accompanied class members with
 their parents. Therefore, due to ICE’s continued violation of Judge Gee’s orders, the three LSP
 teams strongly object to any continuance of the Court’s July 17, 2020 deadline. Similarly, though
 they were not consulted, our accompanied Class Member clients do not consent to a continuance
 of the Court’s July 17th deadline for their release. We do not, however, object to your plans to
 move, jointly with the government, to extend the future filing of the joint status report.



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